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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 JOSEPH LOOMIS,                                    Case No. 17-cv-02110-VC
                Plaintiff,
                                                   ORDER OF DISMISSAL
         v.

 COMCAST CORPORATION, et al.,
                Defendants.



        Having reviewed the plaintiff's August 1, 2017 supplemental brief, the Court agrees it is

appropriate to dismiss this case under Rule 41(a)(1)(A)(i). The Clerk is directed to close the

case.

        IT IS SO ORDERED.

Dated: August 10, 2017
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
